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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION

WORLDWIDE AIRCRAFT
SERVICES, INC. and MICHAEL
BRANNIGAN,

      Plaintiff,
v.                                             Case No. 8:21-cv-456-CEH-AAS

ANTHEM INSURANCE
COMPANIES, INC.,

      Defendants.
______________________________________/

                                     ORDER

      Attorney Marlee Waxelbaum Santos for Anthem Insurance Companies,

Inc. (Anthem) requests to withdraw from representing Anthem pursuant to

Florida Rule of Professional Conduct 4-1.16(b) because Ms. Santos is leaving

the law firm of Troutman Pepper Hamilton Sanders, LLP. (Doc. 32). Local

Rule 2.02(c)(2), 1 M.D. Fla., states “[t]he withdrawing lawyer — not the lawyer's

present or former firm or another lawyer — must move to withdraw unless

unable because of an emergency, disability, or death” (emphasis added). While

the motion provides Ms. Santos as the party moving to withdraw, the motion

is only signed by Gillian D. Williston, cocounsel for Anthem and an attorney at



1 On February 1, 2021, revisions to the Middle District of Florida’s Local Rules took
effect. See Local Rules, https://www.flmd.uscourts.gov/local-rules.
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Troutman Pepper Hamilton Sanders, LLP. Since Ms. Santos did not herself

move to withdraw as counsel for Anthem, Ms. Santos’s motion does not comply

with Local Rule 2.02(c)(2).

      Attorney Santos’s motion to withdraw as counsel (Doc. 32) is therefore

DENIED without prejudice.

      ORDERED in Tampa, Florida on October 7, 2021.




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